                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CRAWL SPACE DOOR SYSTEM, INC., d/b/a                   :
CRAWL SPACE DOOR SYSTEMS, INC.                         :
                                         Plaintiff,    :
                                                       :      CIVIL ACTION
              v.                                       :      Case No. 2:22-cv-04698-GAM
                                                       :
WHITE & WILLIAMS LLP                                   :
                                         Defendant.    :
                                                       :

                                        ORDER

        AND NOW, this ____ day of ____________, 2022, it is hereby ORDERED that

Defendant’s Motion to Dismiss is GRANTED, and Plaintiff’s Complaint is DISMISSED with

prejudice.



                                                 BY THE COURT:




                                                 McHugh, J.




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